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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

 CAROLE GIBBS and ARTHUR COLBY,                   Case No. 4:16-cv-11010-TSH
 individually and on behalf of all others
 similarly situated,
                                                  CLASS ACTION
                         Plaintiffs,
      v.                                          DEMAND FOR JURY TRIAL
 SOLARCITY CORPORATION, a
 Delaware corporation,
                         Defendant.


                MOTION FOR PRO HAC VICE ADMISSION OF PATRICK H. PELUSO
        Pursuant to Local Rule 83.5.3, the undersigned counsel, Julie Tolek, hereby moves the
Court to enter an Order granting leave to Patrick H. Peluso to appear pro hac vice on behalf of
Plaintiffs and the alleged class in the above-entitled action. In support of this Motion, the
undersigned states as follows:
        1.       Patrick Peluso has been a member in good standing of the bar of the State of
Colorado since 2014. Mr. Peluso has also been admitted to the United States District Court for
the District of Colorado since 2015 and is in good standing. In 2016, Mr. Peluso was admitted to
the United States District Courts for New Mexico and the Western District of Wisconsin and is
in good standing.
        2.       There are no disciplinary proceedings pending against Mr. Peluso in any
jurisdiction.
        3.       Mr. Peluso has represented that he has reviewed and is familiar with the Local
Rules of this Court.
        4.       Mr. Peluso has drafted and submitted a Certification for Admission Pro Hac Vice,
as required.
                  CERTIFICATION PURSUANT TO LOCAL RULE 7.1(A)(2)
        Counsel for Plaintiffs has conferred with counsel for Defendant and has been advised that
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Defendant does not oppose the relief sought.


                                               Respectfully submitted,

Dated: July 27, 2016

                                               By: /s/ Julie M. Tolek
                                                       One of Plaintiff’s Attorneys

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                                 CERTIFICATE OF SERVICE
       I hereby certify that the above papers were filed through the Court’s ECF system, which
will serve the papers electronically to all counsel of record.




                                           /s/ Julie Tolek




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